     Case 3:17-cv-00939-WHA Document 666-2 Filed 06/20/17 Page 1 of 2




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                               UNITED STATES DISTRICT COURT
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               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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     WAYMO LLC,                                   CASE NO. 3:17-cv-00939-WHA
11
                  Plaintiff,                      [PROPOSED] ORDER GRANTING
12                                                PLAINTIFF WAYMO LLC’S
         vs.                                      ADMINISTRATIVE MOTION TO FILE
13                                                UNDER SEAL PORTIONS OF ITS
   UBER TECHNOLOGIES, INC.;                       REPLY IN SUPPORT OF ITS JUNE 15,
14 OTTOMOTTO LLC; OTTO TRUCKING                   2017 LETTER BRIEF REGARDING
   LLC,                                           PRIVILEGE ISSUES
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             Defendants.
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                                                                      CASE NO. 3:17-cv-00939-WHA
                                  [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 666-2 Filed 06/20/17 Page 2 of 2




 1          Plaintiff Waymo LLC (“Waymo”) has filed an Administrative Motion to File Under Seal

 2 Portions of its Reply in Support of its June 15, 2017 Letter Brief Regarding Privilege Issues
 3 (“Administrative Motion”).
 4          Having considered the Administrative Motion, and good cause to seal having been shown,
 5 the Court GRANTS Waymo’s Administrative Motion and ORDERS sealed the documents listed
 6 below:
 7                       Document                    Portions to Be Filed           Designating Party
                                                          Under Seal
 8           Portions of Waymo’s Letter Brief       Portions highlighted in   Defendants
                                                    blue
 9
             Exhibit 1 to the Declaration of        Entire Documents          Defendants
10           Melissa Baily

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            IT IS SO ORDERED.
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     Dated: ______________, 2017
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                                               HON. WILLIAM ALSUP
15                                             United States District Court Judge
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                                      [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
